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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,               §
                                        §
     Plaintiff,                         §
                                        §
v.                                      §       CRIMINAL NO. SA-17-CR-380-DAE
                                        §
                                        §
VERNON FARTHING, III (2);               §
                                        §
     Defendants.                        §



                   UNITED STATES’ AMENDED EXHIBIT LIST


 EXHIBIT DESCRIPTION              EXPECTS   MAY       OFFERED     ADMITTED
 #                                TO        OFFER
                                  OFFER
 1          7.9.04 R3 PNA         X
            Reeves contract
 2          2004 Jul 1 MS                   X
            Proposal-UCF
 3          7.5.05 email GEO to   X
            Farthing with CAR
            5 announcement
 4          7.13.05 letter PNA    X
            to GEO re HSA
 5          7.18.05 letter PNA    X
            to GEO with new
            HSA proposal for
            R3
 6          7.21.05 email Brock             X
            to Farthing
            transmitting CAR 5
            Contract-PNA to
            GEO
 7          7.21.05 email         X
            Farthing to GEO
            transmitting CAR 5
            Contract
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8        7.29.05 email Brock            X
         to Farthing with
         CAR 5 formal
         proposal
9        7.29.05 email          X
         Farthing to GEO
         with CAR 5 Medical
         Services Contract
10       8.5.05 Email Brock             X
         to Farthing with
         CAR 5 formal
         contract
11       11.28.05 Email             X
         GEO to Farthing
         with full medical
         CAR 5 submission
         including 8.10.05
         full proposal signed
         by Farthing
12       9.1.06 Letter          X
         Farthing submitting
         PNA proposal to
         Reeves’ County
         commissioners for
         CAR 5 contract
13       6.30.06 email          X
         Farthing to GEO
         transmitting final
         CAR 5 PNA
         Contract 7.5.06
         reply with GEO
         approval
14       7.31.06 Email          X
         Farthing to Gonzales
         to Galindo
         transmitting CAR 5
         PNA contract w/
         revised pricing
15       9.13.06 signed PNA     X
         Reeves contract
16       5.24.06 CAR 5          X
         Award BOP to
         Reeves. 8.17.06
         acceptance by
         Galindo
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17       7.30.08 Email             X
         Farthing to Galindo
         requesting meeting
18       8.10.05 Formal PNA        X
         proposal to Reeves
         for CAR 5 contract
19       1.29.07 email             X
         Galindo Farthing re
         help on R1 R3
20       2.5.07 Email              X
         Galindo Farthing re
         help on R1
21       8.22.06 email             X
         Uresti-Farthing-
         Galindo re meeting
         and follow up in
         Fort Stockton
22       9.12.06 Agenda            X
         Reeves County
         Commissioners’
         Court
23       9.19.06 4:44pm            X
         Email Farthing to
         Galindo with
         proposed draft of
         Uresti letter
24       9.19.06 email             X
         Farthing-Galindo-
         Uresti with Galindo
         drafts of Uresti letter
25       9.20.06 email             X
         Farthing to Galindo
         with Uresti contract
         (unsigned)
26       9.20.06 Uresti            X
         consulting letter
         (dated 9.15.06) with
         9.20.06 $10,000
         check
27       1.4.07 TPS                X
         formation
28       5.12.06 Email             X
         Galindo to Uresti
         TPS name available
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29       5.17.06 Email          X
         Galindo to Uresti
         stating TPS
         opportunity
30       Summary Reeves         X
         County to PNA for
         R1R2 2005-present
31       5.1.06 Email           X
         Galindo to Uresti
         with in kind
         contribution for
         flights
32       7.6.06 Email                 X
         Farthing to GEO
         and Galindo with
         R1R2 proposal
33       11.27.06 Email         X
         Galindo –Farthing re
         working together in
         next year
34       2.13.07 Email          X
         Farthing Galindo
         transmitting R1R2
         contract referencing
         verbal discussion
35       4.25.07 Email          X
         Farthing Galindo re
         meeting
36       9.6.07 email                 X
         Galindo – Farthing
         re issues with R3
         contract
37       3.12.07 R1R2                 X
         Contract
38       12.12.06 Notice to     X
         Proceed on R3 CAR
         5 Contract signed by
         Galindo
39       10.27.06 Email         X
         Farthing-Darter re
         setting up auto
         payment
40       8.4.10 letter          X
         Farthing to
         Contreras renewal of
         PNA MSA contract
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41         8.19.05 Reeves               X
           County/GEO
           submission to BOP
           for CAR 5
42         9.12.06 Audio          X
           Reeves County
           Commissioners’
           meeting
42-A       Transcript of          X
           9.12.06 Audio
           Reeves County
           Commissioners’
           meeting
43         9.13.06 Audio          X
           Reeves County
           Commissioners’
           meeting p1
43-A       9.13.06 Audio          X
           Reeves County
           Commissioners’
           meeting p1
           transcript
44         9.13.06 Audio          X
           Reeves County
           Commissioners’
           meeting p2
44-A       9.13.06 Audio          X
           Reeves County
           Commissioners’
           meeting p2
           transcript
45         10.15.10 Email         X
           Farthing Lisa Uresti
           re backdated invoice
46         10.15.10 Email         X
           Farthing to Lisa
           Uresti asking to
           make back dated
           invoice
47         Farthing HR File       X
48         9.19.06 5:31 PM        X
           Email Galindo to
           Farthing with
           suggestions on
           Uresti letter
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49       1.20.11 Email          X
         Galindo Farthing
         with Uresti invoice
50       3.26.11 Email          X
         Galindo transmits
         Uresti invoice
51       4.27.11 Email          X
         Galindo to Farthing
         transmitting Uresti
         invoice
52       6.14.11 Email          X
         Farthing to
         Smith/Frey stating
         Uresti is consultant
         services
53       3.5.12 Email           X
         Galindo to Farthing
         transmitting Uresti
         invoice and needing
         help with them
54       3.21.12 Email                X
         Farthing – Houston
         re Galindo calling
         complaining of
         money cut
55       3.22.12 Email          X
         Farthing trying to
         get Uresti invoice
         paid
56       9.30.16 Termination    X
         letter Uresti
57       Uresti JNC for               X
         Conviction
58       Uresti not licensed          X
         as lobbyist
59       9.26.11 Email          X
         Farthing Galindo
         sending and
         approving Uresti
         invoice
60       10.15.10 Email         X
         Farthing-Lisa
         Uresti-Jed Smith
         with back dated
         invoice
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61       7.27.11 email                X
         Galindo Farthing re
         invoice being
         approved
62       5.29.11 Email           X
         Farthing approving
         Uresti invoice as
         transmitted by
         Galindo
63       6.27.11 Email           X
         Farthing stating will
         check with Jimmy to
         get Uresti invoice
64       3.8.12 email            X
         Farthing checking
         on status of
         payments to Uresti
65       1.14.09 email           X
         Farthing to Galindo
         stating forward
         billing address so
         PNA could pay
         expenses
66       Summary Reeves          X
         County to PNA for
         R3 2005-present
67       BOP payment             X
         history log under
         CAR 5 to Reeves
68       9.23.10 Email           X
         Farthing-Galindo
         asking Uresti to
         send invoice
69       Amendments to           X
         PNA-Reeves R3
         CAR 5 contract
70       Summary Flow of         X
         Funds Reeves to
         Galindo
71       9.12.06 Minutes for     X
         Reeves County
         Commissioner court
72       1.17.07 Award of             X
         CAR 6 to Reeves
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73       6.30.06 CAR 6          X
         solicitation by
         Galindo
74       Summary chart          X
         Reeves-PNA-Uresti-
         Galindo
75       12.2.05 CAR 5 Final    X
         Proposal Revisions
76       8.19.05 CAR            X
         submission to BOP
77       7.5.06 Email           X
         Farthing to Brock re
         update master
         language Reeves
         MSA
78       8.3.05 Email                 X
         Farthing to Brock re
         changing GEO to
         Reeves
79       8.5.05 Email           X
         Farthing to GEO re
         sending signed
         proposal to GEO on
         CAR 5 R3
80       Payment from BOP       X
         to Reeves 2005-
         2018
81       Payments Reeves to     X
         PNA/CHC/CCS
         2005-present
82       List of MODS to        X
         CAR 5 BOP
83       Summary chart          X
         payments
         PNA/Uresti/Galindo
84       Summary chart per      X
         diem increase
85       CAR 5 contract in            X
         total
86       CAR 6 submission             X
         Reeves
87       Summary Payments       X
         BOPS to Reeves
         total R1R2R3
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88        7.6.06 Email           X
          Farthing-
          Chiuminetta re
          changes to CAR 5
          R3
100       Broadway Uresti        X
          Law Firm Account
          Number 919231
101       The Uresti Law         X
          Firm IOLTA Chase
          Account Ending
          3941 (July 2011 -
          Jan 2012)
102       The Uresti Law         X
          Firm IOLTA Chase
          Account Ending
          3941 (Jan 2012 -
          Dec 2013)
103       The Uresti Law         X
          Firm IOLTA Chase
          Account Ending
          3941 (Jan 2014 - Jan
          2016)
104       The Uresti Law         X
          Firm IOLTA Chase
          Account Ending
          3941 (Jan 2016 -
          April 2017)
105       The Uresti Law         X
          Firm Operating
          Account Ending in
          3933 July 2011 -
          January 2012
106       The Uresti Law         X
          Firm Operating
          Account Ending in
          3933 (August-
          September 2013)
107       The Uresti Law         X
          Firm Operating
          Account Ending in
          3933 (March 2014)
108       BofA DBA               X
          Municipal Market
          Strategies 7845
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 109         Falcon Bank           X
             (Galindo)
 110         3.2.07 check TPS to   X
             Galindo
 111         6.21.07 check TPS     X
             to Galindo
 112          Trans Pecos Bank     X
             (provided by
             Galindo)
 130          Exparte Cover        X
             Letter
 131         ExParte 2007 TPS      X
             Tax Return
 132         Exparte 2008 TPS      X
             Tax Return
 133         Exparte TPS 2008      X
             Form 1099s
 134         Exparte TPS           X
             Certified Lack of
             Record
 135         Exparte 2013 - 2015   X
             IRPTRR The Uresti
             Law Firm
 140         Galindo Wage and      X
             Income Transcripts
             (2008-2012)
 149         PNA general ledger               X
             records
 150         PNA general ledger               X
             records
 151         PNA general ledger               X
             records
 152         Profit and loss by               X
             Class 2005-2011
 155         Laborde Business                 X
             Records Affidavit
 156         The ULF GL noting     X
             2011 PNA deposits


Respectfully submitted,
                                       JOHN F. BASH
                                       UNITED STATES ATTORNEY

                                   BY: /s/Joseph E. Blackwell______
                                       JOSEPH E. BLACKWELL
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                                            Assistant U.S. Attorney
                                            Texas Bar # 24045504
                                            601 NW Loop 410, Suite 600
                                            San Antonio, Texas 78216
                                            (210) 384-7350
                                            Joseph.Blackwell@usdoj.gov

                                            /s/ Sean B. O’Connell
                                            SEAN O’CONNELL
                                            Assistant U.S. Attorney
                                            Pennsylvania Bar No. 94331
                                            601 N.W. Loop 410, Suite 600
                                            San Antonio, TX 78216-5597
                                            Tel. (210) 384-7396
                                            Fax (210) 384-7312
                                            Sean.O’Connell@usdoj.gov


                                CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of October, 2018, a true and correct copy of the
foregoing instrument was electronically filed with the Clerk of the Court using the CM/ECF
System. A true and correct copy of this document has been provided to all counsel through the
ECF system.


                                                      /s/ ______________
                                            JOSEPH E. BLACKWELL
                                            Assistant United States Attorney
